        Case 1:15-cv-14139-MLW Document 156 Filed 09/27/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

KIERAN O’HARA, on behalf of himself and all
other similarly situated individuals,
                                                                 Case No. 15-14139
       Plaintiff,
v.
DIAGEO BEER COMPANY USA & DIAGEO
NORTH AMERICA, INC.

       Defendants.

            PLAINTIFF’S ASSENTED-TO MOTION FOR FINAL APPROVAL
                OF THE PROPOSED CLASS ACTION SETTLEMENT

       NOW comes Plaintiff, Kieran O’Hara (“O’Hara” or “Plaintiff”), and hereby submits his

Assented-To Motion for Final Approval of a Proposed Class Action Settlement. The terms of the

Settlement were preliminarily approved by this Court on June 28, 2021. See, Docket No. 148. In

support of his request for Final Approval, O’Hara provides herewith a memorandum of law.

       WHEREFORE, for the reasons set forth in the incorporated memorandum of law, Plaintiff

respectfully requests that this Honorable Court grant Final Approval of the proposed class action

settlement agreement, and likewise enter the proposed order attached to the memorandum of law

as Exhibit B.

Respectfully submitted,
Plaintiff by his Counsel,

/s/ Kevin J. McCullough
________________________
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Yasi & Yasi, P.C.
877-599-8890
DATED: September 27, 2021
        Case 1:15-cv-14139-MLW Document 156 Filed 09/27/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, Kevin J. McCullough, Esq., certify that on September 27, 2021, this document was

filed electronically through the ECF system and thereby delivered by electronic means to all

counsel of record.

                                                                   /s/ Kevin J. McCullough
                                                                   Kevin J. McCullough
